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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 AUGUSTA DIVISION

JERRY L. MAZONE,                              )
                                              )
             Petitioner,                      )
                                              )
      v.                                      )         CV 116-120
                                              )         (Formerly CR 112-057)
UNITED STATES OF AMERICA,                     )
                                              )
             Respondent.                      )


           MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


      Petitioner Jerry L. Mazone filed a motion under 28 U.S.C. § 2255 to vacate, set aside,

or correct his sentence.   The matter is now before the Court for an initial review of

Petitioner’s motion as required by Rule 4 of the Rules Governing Section 2255 Proceedings

for the United States District Courts. For the reasons set forth below, the Court REPORTS

and RECOMMENDS the § 2255 motion be DISMISSED, the motion for appointment of

counsel be DENIED, and this civil action be CLOSED.

I.    BACKGROUND

      On February 8, 2012, a grand jury in the Southern District of Georgia issued a

twenty-three-count indictment against five defendants, including two counts against

Petitioner for possession of a firearm by a convicted felon, in violation of 18 U.S.C. §§

922(g)(1) and 924(a)(2), and possession of a stolen firearm, in violation of 18 U.S.C. §§

922(j) and 924(a)(2). United States v. Mazone, CR 112-057, doc. no. 3 (S.D. Ga. Feb. 8,

2012) (hereinafter “CR 112-057”). On March 8, 2012, the grand jury returned a superseding
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indictment which as to Petitioner added a second count of possession of a firearm by a

convicted felon, and changed the date on the charge of possession of a stolen firearm. Id.,

doc. no. 46. The Court appointed attorney Blair Ballard Massey to represent Petitioner, and

on May 2, 2012, Petitioner pleaded guilty to Count Seven of the superseding indictment,

possession of a firearm by a convicted felon. Id., doc. nos. 70, 103-05.

       Upon entry of the guilty plea, the United States Probation Office prepared a

Presentence Investigation Report (“PSI”) which set Petitioner’s Total Offense Level at

twenty-nine, Criminal History Category at VI, and Guidelines term of imprisonment at the

statutory maximum of 120 months. PSI ¶¶ 27, 59, 60. Because Petitioner had at least two

felony convictions for a crime of violence, pursuant to U.S.S.G. § 2K2.1(a)(2), his base

offense level was twenty-four. PSI ¶ 16. That base level increased by eight points pursuant

to U.S.S.G. § 2K2.1(b) because of specific offense characteristics but was then reduced by

three points to twenty-nine based on Petitioner’s acceptance of responsibility. PSI ¶¶ 17-19,

25-27. The original Guidelines range was 151 to 188 months, but because the statutorily

authorized maximum sentence of ten years for possession of a firearm by a felon was less

than the applicable Guidelines range, the Guidelines term of imprisonment was 120 months.

18 U.S.C. §§ 922(g) and 924(a)(2); PSI ¶¶ 59, 60.

       At sentencing on November 8, 2012, United States District Judge J. Randal Hall

imposed a sentence of 120 months of imprisonment, three years of supervised release, a $100

special assessment, and a $2,000 fine. CR 112-057, doc. nos. 153, 157, 164. Petitioner did

not appeal.

       On June 26, 2015, the United States Supreme Court decided Johnson v. United States,

135 S. Ct. 2551 (2015). In Johnson, the Supreme Court found the “residual clause” of the

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Armed Career Criminal Act, 18 U.S.C. § 924(e)(2)(B)(ii) (“ACCA”), to be void for

vagueness and a violation of the Constitution’s guarantee of due process. Johnson, 135 S.

Ct. at 2563. The “residual clause” of the ACCA violent felony definition includes a crime

that “otherwise involves conduct that presents a serious potential risk of physical injury to

another.” 18 U.S.C. § 924(e)(2)(B)(ii). In Welch v. United States, 136 S. Ct. 1257, 1265

(2016), the Supreme Court held Johnson is a substantive decision retroactive in cases on

collateral review.

       Based on these recent rulings from the Supreme Court, Petitioner filed his § 2255

motion, arguing Johnson entitles him to be resentenced. Petitioner does not contend he was

sentenced under the statutory provisions of the ACCA. Instead, he argues for extension of

Johnson to his sentence because U.S.S.G. § 2K2.1(a) incorporates the Guidelines definition

for “crime of violence” that mirrors the language of the residual clause in the ACCA. (See

generally doc. no. 1.)

II.    DISCUSSION

       A.     Johnson Does Not Apply to the Guidelines.

       Even assuming that removing the “crime of violence” enhancement under U.S.S.G.

§ 2K2.1 would have reduced Petitioner’s Guidelines range of imprisonment below the

statutory maximum of 120 months, he is not entitled to relief. Although the ACCA and

Guidelines “include an identical residual clause that encapsulates crimes that ‘present[] a

serious potential risk of physical injury to another[,] 18 U.S.C. § 924(e)(2)(B) [&] U.S.S.G. §

4B1.2(a)(2),” Johnson does not apply to career offender enhancements under the sentencing

guidelines. United States v. Matchett, 802 F.3d 1185, 1194 (11th Cir. 2015). This is because

the vagueness doctrine under the Due Process Clause does not apply to the sentencing

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Guidelines but is, instead, “limited to criminal statutes that define elements of a crime or fix

punishments.”     Id.   Because Petitioner’s sentence was not based on application of the

ACCA’s residual clause and the Eleventh Circuit has determined Johnson does not apply to

enhancements under the Guidelines, Petitioner is not entitled to be resentenced without

application of § 2K2.1.1 See id.; see also United States v. Kirk, 636 F. App’x 548, 550 (11th

Cir. 2016) (“[N]othing in Johnson precludes the application of the offense level increases or

enhancements in the advisory sentencing guidelines.”); United States v. Snipes, CR 11-

00268 / CV 15-00419, 2015 WL 8207484, at *1-2 (S.D. Ala. Dec. 7, 2015) (dismissing

Johnson-based claim for resentencing without § 2K2.1 enhancement under reasoning of

Matchett).

       Because Petitioner’s claim is clearly without merit based on the current record and

Eleventh Circuit case law, his motion is ripe for dismissal under Rule 4 of the Rules

Governing Section 2255 Proceedings.

       B.       Petitioner Is Not Entitled to Appointed Counsel.

       Petitioner also included a request for appointment of counsel when he initially filed

for relief pursuant to Johnson on May 31, 2016. CR 112-057, doc. no. 196. On July 15,

2016, Judge Hall entered an order explaining the Court intended to re-characterize this

motion as a first § 2255 motion unless Petitioner notified the Court of his intention to contest

the re-characterization, withdraw the motion, or amend the motion to include any § 2255

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         The United States Supreme Court has granted certiorari to consider whether Johnson
applies retroactively to collateral cases challenging federal sentences enhanced under the residual
clause in U.S.S.G. § 4B1.2(a)(2) and whether Johnson’s constitutional holding applies to the
residual clause in U.S.S.G. § 4B1.2(a)(2) such that a challenge to a sentence imposed under this
portion of the Guidelines is cognizable on collateral review. Beckles v. United States, 616 F.
App’x 415 (11th Cir. 2015), cert. granted, 136 S. Ct. 2510 (U.S. June 27, 2016) (No. 15-8544).


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claims other than those based on Johnson v. United States, 135 S. Ct. 2551 (2015). See id.,

doc. no. 202. In response to Judge Hall’s Order, Petitioner filed the § 2255 motion reviewed

above. Thus, the Court turns its attention to the request for appointed counsel.

       There is no automatic constitutional right to counsel in habeas proceedings. See

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); United States v. Webb, 565 F.3d 789, 794

(11th Cir. 2009) (citing Barbour v. Haley, 471 F.3d 1222, 1227 (11th Cir. 2006)); Hooks v.

Wainwright, 775 F.2d 1433, 1438 (11th Cir. 1985). Under 18 U.S.C. § 3006A(a)(2)(B), the

Court may appoint counsel for an indigent litigant seeking relief under 28 U.S.C. § 2255, but

such requests are discretionary when “due process or the ‘interests of justice’” so require.

Hooks, 775 F.2d at 1438; Norris v. Wainwright, 588 F.2d 130, 133 (5th Cir. 1979)2; see also

28 U.S.C. § 2255(g) and Rule 8(c) of the Rules Governing Section 2255 Cases in the United

States District Courts (authorizing appointment of counsel pursuant to 18 U.S.C. § 3006A if

evidentiary hearing warranted). Moreover, appointment of counsel is “a privilege that is

justified only by exceptional circumstances[.]” McCall v. Cook, 495 F. App’x 29, 31 (11th

Cir. 2012). In sum, “[e]xcept in rare and extraordinary cases where due process principles of

fundamental fairness would be violated if counsel is not appointed,” there is no federal

constitutional right to appointed counsel. Donald E. Wilkes, Jr., Federal Postconviction

Remedies and Relief Handbook § 2.2, at 147 (2016 ed.) (citations omitted).

       The Court does not find any exceptional circumstances justifying the appointment of

counsel. See McCall, 495 F. App’x at 31. Petitioner has had no problem communicating

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         In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all Fifth Circuit decisions that were handed down
prior the close of business on September 30, 1981.


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with the Court, as evidenced by his § 2255 motion detailing his underlying criminal

proceedings and citing recent case law. Moreover, as explained above, his case does not fall

within the parameters of Johnson and is due to be dismissed. Therefore, the motion for

appointment of counsel should be DENIED. CR 112-057, doc. no. 196.

III.   CONCLUSION

       For the reasons set forth above, the Court REPORTS and RECOMMENDS that the

§ 2255 motion be DISMISSED, the motion for appointment of counsel be DENIED, (CR

112-057, doc. no. 196), and this civil action be CLOSED.

       SO REPORTED and RECOMMENDED this 15th day of August, 2016, at Augusta,

Georgia.




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